       Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 1 of 10 PageID #:1




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JESSICA MADRID, individually, and on
 behalf of all others similarly situated,

      Plaintiff,

 v.                                                       Case No.    1:20-cv-00587

 US ENERGY SOLUTIONS, INC.,

      Defendant.

                                   CLASS ACTION COMPLAINT

        NOW COMES Plaintiff, JESSICA MADRID, individually, and on behalf of all others

similarly situated, by and through her undersigned counsel, complaining of Defendant, US

ENERGY SOLUTIONS, INC., as follows:

                                     NATURE OF THE ACTION

        1.         Plaintiff brings this action seeking damages as well as injunctive relief for the

Defendant’s violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (the

“TCPA”).

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        3.         Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         JESSICA MADRID (“Plaintiff”) is a natural person, over 18-years-of-age, who at

all times relevant resided in this District.

        5.         Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).


                                                    1
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 2 of 10 PageID #:2




       6.      US ENERGY SOLUTIONS, INC. (“Defendant”) is a corporation organized under

the laws of the state of New Jersey. Defendant is in the energy industry and purports to provide

“energy efficient solutions resulting in proven cost savings, reduced energy consumption, and a

smaller carbon footprint.”

       7.      Upon information and belief, Defendant markets its products and services to

consumers nationwide.

       8.      Defendant maintains its principal place of business in Virginia Beach, Virginia.

       9.      Defendant is a “person” as defined by 47 U.S.C. § 153(39).

                                  GENERAL ALLEGATIONS

       10.     Defendant develops marketing campaigns using a combination of sales channels,

with an emphasis on outbound telemarketing.

       11.     Defendant utilizes third party vendors to market its services and products.

       12.     Defendant’s vendors are essential to their telemarketing activities.

       13.     Defendant’s ability to increase revenues depends significantly on their access to

high-quality vendors.

       14.     Defendant is subject to liability under the TCPA for actions of their third party

vendors who are engaging in outbound telemarketing efforts on their behalf.

       15.     Defendant’s third party vendors identify themselves as representatives of “US

Energy Solutions.”

       16.     Upon information and belief, Defendant’s outbound telemarketing efforts include

the use of an automatic telephone dialing system (“ATDS”) to solicit consumers nationwide.

       17.     The Federal Trade Commission (“FTC”) has held that a basic function of an ATDS

is the ability to dial thousands of numbers in a short time period.

                                                 2
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 3 of 10 PageID #:3




       18.     Upon information and belief, Defendant uses technology that has the capacity to

produce telephone numbers using a random or sequential number generator in order to contact as

many consumers as possible to market its services to.

       19.     An ATDS allows its telemarketing agents to only communicate with consumers

who answer their phone.

       20.     Consequently, Defendant shifts the burden of wasted time to consumers with

unsolicited calls and messages.

                                  FACTUAL ALLEGATIONS

       21.     At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the cellular telephone number ending in 9422.

       22.     At all times relevant, Plaintiff’s number ending in 9422 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       23.     At all times relevant, Plaintiff was financially responsible for her cellular telephone

equipment and services.

       24.     On July 22, 2019 at 12:25 p.m., Defendant placed an unsolicited marketing call to

Plaintiff’s cellular phone from the phone number (816) 208-9049.

       25.     Plaintiff answered Defendant’s call and the caller identified themselves as a

representative of “US Energy Solutions” and requested to speak to “Arthur Madrid.”

       26.     In response, Plaintiff advised Defendant’s representative that he has the wrong

number and requested that Defendant cease its calls.

       27.     Upon answering Defendant’s call, Plaintiff experienced a distinctive noticeable

pause prior to being connected to Defendant’s representative.



                                                 3
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 4 of 10 PageID #:4




       28.     On December 9, 2019 at 1:24 p.m., Defendant placed another unsolicited marketing

call to Plaintiff’s cellular phone from the phone number (816) 208-2991.

       29.     Plaintiff answered Defendant’s call and the caller again identified themselves as a

representative of “US Energy Solutions” and requested to speak to “Arthur Madrid.”

       30.     In response, Plaintiff again advised Defendant’s representative that he has the

wrong number and requested that Defendant cease its calls.

       31.     Upon answering Defendant’s second call, Plaintiff again experienced a distinctive

noticeable pause prior to being connected to Defendant’s representative.

       32.     At no time did Plaintiff provide Defendant with express written consent to place

calls to her cellular phone.

       33.     Defendant’s unsolicited telemarketing phone calls have caused Plaintiff actual

harm, including but not limited to, aggravation that accompanies unsolicited telemarketing phone

calls, anxiety, emotional distress, increased risk of personal injury resulting from the distraction

caused by the phone calls, wear and tear to Plaintiff’s cellular phone, intrusion upon and

occupation of Plaintiff’s cellular telephone, temporary loss of use of Plaintiff’s cellular phone,

invasion of privacy, loss of battery charge, loss of concentration, mental anguish, nuisance, the

per-kilowatt electricity costs required to recharge Plaintiff’s cellular telephone as a result of

increased usage of Plaintiff’s telephone services, and wasting Plaintiff’s time.

                                    CLASS ALLEGATIONS

       34.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       35.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

                                                 4
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 5 of 10 PageID #:5




        All persons residing in the United States: (a) to whom Defendant and/or a third
        party acting on Defendant’s behalf, made one or more non-emergency phone
        call(s); (b) promoting Defendant’s products or services; (c) to their cellular
        telephone number; (d) using an automatic telephone dialing system; (e) without
        their prior express written consent; and (f) at any time in the period that begins four
        years before the date of the filing of the original complaint through the date of class
        certification.

        36.     The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from

the Putative Class; (5) the legal representatives, successors or assigns of any such executed

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released.

A.      Numerosity

        37.     The exact number of members of the Putative Class are unknown and not available

to Plaintiff at this time, but it is clear that individual joinder is impracticable.

        38.     Upon information and belief, Defendant made phone calls to thousands of

consumers who fall into the definition of the Putative Class.

        39.     Members of the Putative Class can be objectively identified from records of

Defendant and any affiliated marketers/vendors to be gained in discovery.

B.      Commonality and Predominance

        40.     There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class, and those questions predominate over any questions that may affect individual



                                                    5
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 6 of 10 PageID #:6




members of the Putative Class. Common questions for the Putative Class include, but are not

necessarily limited to the following:

               A.      Whether Defendant used an “automatic telephone dialing system” as

                       defined by the TCPA and applicable FCC regulations and orders.

               B.      Whether Defendant had prior express consent to contact Plaintiff and the

                       members of the Putative Class when it placed, or caused to be placed phone

                       calls to their cellular phones using an automatic telephone dialing system.

               C.      Damages, including whether Defendant’s violations were performed

                       willfully or knowingly such that Plaintiff and the members of the Putative

                       Class are entitled to treble damages.

C.     Typicality

       41.     Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as result of Defendant’s conduct.

D.     Superiority and Manageability

       42.     This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

       43.     The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

       44.     By contrast, a class action provides the benefits of single adjudication, economies

of scale and comprehensive supervision by a single court.

       45.     Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.



                                                  6
         Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 7 of 10 PageID #:7




E.         Adequate Representation

           46.      Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

           47.      Plaintiff has no interests antagonistic to those of the Putative Class, and Defendant

has no defenses unique to Plaintiff.

           48.      Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                          CLAIMS FOR RELIEF

                                               COUNT I:
                             Violations of 47 U.S.C. § 227 et seq. (TCPA)
                     (On behalf of Plaintiff and the Members of the Putative Class)


           49.      All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

           50.      Among other things, the TCPA prohibits certain calls to wireless and residential

numbers unless the caller has the prior express consent of the called party.                    47 U.S.C.

§227(b)(1)(A).

           51.      Under the TCPA consent rules, some types of calls require prior express written

consent, while other types of calls do not require that the consent be in writing.

           52.      “Prior express written consent” is required for (a) all telemarketing/promotional

calls/texts made using an ATDS placed to wireless numbers, and (b) all artificial or prerecorded

telemarketing/promotional voice calls to wireless and residential numbers. 1




1
    47 C.F.R. §§64.1200(a)(2), (a)(3).

                                                       7
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 8 of 10 PageID #:8




        53.       The TCPA consent rules define “prior express written consent” as “an agreement,

in writing, bearing the signature of the person called that clearly authorizes the seller to deliver or

cause to be delivered to the person called advertisements or telemarketing messages using an

ATDS or an artificial or prerecorded voice, and the telephone number to which the signatory

authorizes such advertisements or telemarketing messages to be delivered.”

        54.       Defendant and/or a third party acting on Defendant’s behalf placed or caused to be

placed solicitation phone calls to Plaintiff’s cellular telephone number ending in 9422 utilizing an

ATDS without Plaintiff’s prior express written consent in violation of 47 U.S.C. §227

(b)(1)(A)(iii).

        55.       Upon information and belief, based on the noticeable pause Plaintiff experienced

upon answering Defendant’s phone calls, Defendant employed an ATDS to place calls to

Plaintiff’s cellular telephone.

        56.       Upon information and belief, the ATDS employed by Defendant transfers the call

to a live representative once a human voice is detected, hence the conspicuous delay before being

connected to a live representative.

        57.       Upon information and belief, the system employed by Defendant to place the calls

to Plaintiff’s cellular phone produced Plaintiff’s telephone number using a random or sequential

number generator as Plaintiff never provided her phone number to Defendant.

        58.       Upon information and belief, Defendant has the means to identify the owner of the

number that is produced shortly after the number is produced (erroneous identification here).

        59.       Upon information and belief, the system employed by Defendant to place phone

calls to Plaintiff’s cellular phone has the capacity – (A) to store or produce telephone numbers to

be called, using a random or sequential number generator; and (B) to dial such numbers.

                                                  8
      Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 9 of 10 PageID #:9




       60.     Upon information and belief, Defendant has no database to maintain and update

consumers’ contact preferences and consent to call them.

       61.     As a result of Defendant’s violations of the TCPA, Plaintiff and the members of the

Putative Class are entitled to receive $500.00 in damages for each such violation.

       62.     As a result of Defendant’s knowing and willful violations of the TCPA, Plaintiff

and the members of the Putative Class are entitled to receive up to $1,500.00 in treble damages for

each such violation.

       WHEREFORE, Plaintiff, on behalf of herself and the members of the Putative Class,

requests the following relief:

       A.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representative, and the appointment of the undersigned as

               Class Counsel;

       B.      an order finding that Defendant violated the TCPA;

       C.      an order enjoining Defendant from placing or causing to place further violating

               calls to consumers;

       D.      an award of $500.00 in damages to Plaintiff and the members of the Putative Class

               for each such violation;

       E.      an award of treble damages up to $1,500.00 to Plaintiff and the members of the

               Putative Class for each such violation; and

       F.      an award of such other relief as this Court deems just and proper.




                                                9
     Case: 1:20-cv-00587 Document #: 1 Filed: 01/27/20 Page 10 of 10 PageID #:10




                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

Dated: January 27, 2020                                       Respectfully submitted,

                                                              JESSICA MADRID

                                                              By: /s/ Mohammed O. Badwan
                                                                 /s/ Joseph S. Davidson

                                                              Mohammed O. Badwan, Esq.
                                                              Joseph S. Davidson, Esq.
                                                              Victor T. Metroff, Esq.
                                                              Sulaiman Law Group, Ltd.
                                                              2500 South Highland Avenue
                                                              Suite 200
                                                              Lombard, Illinois 60148
                                                              (630) 575-8180
                                                              mbadwan@sulaimanlaw.com
                                                              jdavidson@sulaimanlaw.com
                                                              vmetroff@sulaimanlaw.com




                                                 10
